
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-08-463-CR



JEFFREY LANCE STORM	APPELLANT



V.

THE STATE OF TEXAS	STATE

----------

FROM THE 367
TH
 DISTRICT COURT OF 
DENTON COUNTY

----------

MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

----------

We have considered appellant’s “Motion To Dismiss Appeal.” &nbsp;The motion complies with rule 42.2(a) of the rules of appellate procedure. &nbsp;
Tex. R. App. P.
 
42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. &nbsp;
See 
Tex. R. App. P.
 
42.2(a), 43.2(f). 																										PER CURIAM



PANEL: 
 MCCOY
, J.; CAYCE
, C.J.; and MEIER
, J.



DO NOT PUBLISH

Tex. R. App. P.
 
47.2(b)



DELIVERED: July 30, 2009
	

FOOTNOTES
1:See
 
Tex. R. App. P.
 
47.4.




